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01:12:40                  IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE


              ARCELORMITTAL FRANCE, et al.,)
                                           )
                         Plaintiffs,       )
                                           ) C.A. No. 10-050(MN)
              v.                           )
                                           )
              AK STEEL CORPORATION, et al.,)
                                           )
                           Defendants.     )


                                  Tuesday, December 4, 2018
                                  2:00 p.m.
                                  Motion for Attorney's Fees


                                  844 King Street
                                  Wilmington, Delaware


              BEFORE:    THE HONORABLE MARYELLEN NOREIKA
                         United States District Court Judge




              APPEARANCES:


                            RATNER PRESTIA, P.C.
                            BY: JEFFREY B. BOVE, ESQ.
                            BY: KAREN RIESENBURGER, ESQ.

                             -and-

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                                        Counsel for the Plaintiffs
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                                                                               2


         1    APPEARANCES CONTINUED:

         2

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         7
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         8

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        13                                P R O C E E D I N G S

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01:52:52 17


01:56:50 18                  THE COURT:    Good afternoon.    We're here today

01:57:05 19   for arguments in Civil Action Number 10-50 on defendant's

01:57:14 20   motion for attorney's fees.       Before we start, how about some

01:57:19 21   appearances.

01:57:21 22                  MR. BOVE:    Good afternoon, Your Honor.      Jeff

01:57:25 23   Bove with RatnerPrestia for ArcelorMittal.          I have with me

01:57:29 24   my co-counsel from Shook Hardy, Hugh Abrams, who will be

01:57:33 25   doing the argument today.       And by way of introduction I have
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01:57:38   1   my associate who hasn't entered an appearance in this case,

01:57:42   2   but is attending, Karen Poppel, and my paralegal, Jo Hurliy

01:57:44   3   will be running our PowerPoint.

01:57:46   4                THE COURT:    Welcome everybody.

01:57:48   5                MR. BOVE:    Thank you.

01:57:48   6                THE COURT:    Mr. Poff.

01:57:50   7                MR. POFF:    Good afternoon, Your Honor.       Adam

01:57:52   8   Poff from Young Conaway on behalf of AK Steel.         And with me

01:57:54   9   is Jeffrey Lerner from Covington.

01:57:57 10                 MR. LERNER:    Good afternoon.

01:57:57 11                 THE COURT:    So I have copies of slides, so let's

01:58:02 12    hear first from defendant, AK Steel.        And just so you know,

01:58:13 13    I have read all of the briefs and all of Judge Robinson's

01:58:18 14    opinions and the Federal Circuit opinions to the extent that

01:58:20 15    helps you shorten some background or time that you may want

01:58:25 16    to spend on other things.

01:58:26 17                 MR. LERNER:    Thank you, Your Honor.

01:58:29 18                 I'm Jeffrey Lerner for AK Steel.        This is a

01:58:34 19    unique case which became exceptional about five-and-a-half

01:58:37 20    years ago.   The case was originally filed by ArcelorMittal

01:58:42 21    in January of 2010 on a patent that we call the '805 patent.

01:58:46 22    The case proceeded to trial, a five-day jury trial, which AK

01:58:52 23    Steel won.   The jury found the claims not infringed,

01:58:55 24    anticipated and obvious.      And that was appealed to the

01:58:58 25    Federal Circuit by ArcelorMittal.       The Federal Circuit
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01:59:02   1   affirmed in many respects, reversed one claim construction,

01:59:06   2   and vacated in part and issued a very limited remand for two

01:59:12   3   specific issues.    One issue was whether there was evidence

01:59:15   4   in the record of literal infringement under the affirmed

01:59:19   5   claim construction that requires steel sheet to have an

01:59:22   6   ultimate tensile strength or UTS of 1,500 or above.          And the

01:59:28   7   second was whether there was evidence of commercial success

01:59:31   8   having a nexus to the claims under the claim constructions.

01:59:37   9                Had the case proceeded to remand on the '805

01:59:43 10    patent, the case would have ended in April of 2013.          The

01:59:47 11    Federal Circuit's mandate issued, and from that time

01:59:51 12    forward, ArcelorMittal has never identified evidence of

01:59:55 13    record that AK Steel has steel sheet having the required

02:00:00 14    ultimate tensile strength or that there was evidence of

02:00:04 15    commercial success having a nexus to the claims.

02:00:06 16                 Instead what ArcelorMittal sought to do and what

02:00:10 17    made this case exceptional is they sought to undo all of the

02:00:15 18    litigation by going to the patent office and after the

02:00:19 19    Federal Circuit's mandate issued, after their appeal had

02:00:22 20    been finalized, going and getting a broadening reissue that

02:00:26 21    deliberately expanded the scope of their claims to cover

02:00:30 22    product having ultimate tensile strength less than 1,500

02:00:35 23    which was adjudged non-infringing.

02:00:38 24                 Under Section 251(d), a party, a patent holder

02:00:42 25    may not obtain a broadening reissue more than two years
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02:00:46   1   after issuance.

02:00:47   2                  The '805 patent issued in 2001.      ArcelorMittal

02:00:50   3   filed its petition for reissue in 2010, nearly a decade

02:00:55   4   later.    There was no legal basis for ArcelorMittal to

02:00:58   5   broaden its claims.     And as Judge Robinson recognized in her

02:01:03   6   opinions, and I think her frustration comes across in some

02:01:06   7   of the transcripts, what ArcelorMittal did was an attempt at

02:01:09   8   that point having lost at trial, having lost post-trial

02:01:14   9   motions, having essentially lost on appeal, to undo all of

02:01:18 10    what happened and to start afresh.

02:01:19 11                   And Judge Robinson characterized that,

02:01:23 12    characterized the strategy that ArcelorMittal undertook as

02:01:30 13    an abusive process.     That's in DI-13, which is a hearing in

02:01:35 14    August 2013 on the initial remand.

02:01:36 15                   THE COURT:    Can I ask you a question?     I was

02:01:39 16    trying to figure out how -- what happened after that first

02:01:44 17    remand.   As you said, the issues for remand were literal

02:01:48 18    infringement and commercial success.        And ultimately what

02:01:51 19    the court heard was AK Steel's motion for summary judgment

02:01:56 20    of no infringement.     And then decided the motion based on

02:02:00 21    the reissue.    What was the process by which that came about,

02:02:05 22    and why was the obviousness, the commercial success issue

02:02:09 23    not addressed?

02:02:10 24                   MR. LERNER:   When ArcelorMittal obtained their

02:02:13 25    reissue, as a matter of law they surrendered the '805
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02:02:18   1   patent.   And so what the parties faced at that point was the

02:02:21   2   '805 patent which was the subject of all the proceedings

02:02:24   3   before that no longer existed and what to do with this new

02:02:28   4   reissued patent RE153.

02:02:31   5                 On the remand we thought that the motion for

02:02:32   6   summary judgment was the way to effectuate the court's --

02:02:37   7   the Federal Circuit's mandate.       And what we said was two

02:02:40   8   things should happen.      All of the claims substituted into

02:02:44   9   the case, and we said some claims were broadened, claims 1

02:02:48 10    through 23, and those are invalid for broadening.          There

02:02:51 11    were two claims that were not themselves broadened.          We

02:02:55 12    argued that those could not be infringed because there was

02:02:59 13    no evidence of literal infringement.        That would be to

02:03:02 14    effectuate the mandate.     And I candidly cannot recall why

02:03:07 15    the commercial success piece was not addressed as well, but

02:03:10 16    that would have disposed of the appeal.

02:03:13 17                  THE COURT:    I think you said in your papers that

02:03:15 18    those two claims, 24 and 25, should be dealt with pursuant

02:03:18 19    to the remand on obviousness or the commercial success nexus

02:03:22 20    issue.    And you just don't recall why that didn't happen?

02:03:26 21                  MR. LERNER:    Well, what happened was -- that was

02:03:31 22    our view of things.     ArcelorMittal took a different view.

02:03:34 23    And they came into the court for the remand and said we need

02:03:39 24    new claim construction.     And so what you will find in the

02:03:42 25    remand, which is procedurally unusual is dueling sets of
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02:03:46   1   briefs.    We were briefing summary judgment.       ArcelorMittal

02:03:49   2   was briefing what they called claim construction.          The two

02:03:52   3   were largely addressing the same issues.

02:03:54   4                 But in the ArcelorMittal view of the world, they

02:03:58   5   said that claim construction comes first and that determines

02:04:02   6   what comes after.    Our position was there could be no

02:04:06   7   broadening of the claims, therefore, the mandate is still in

02:04:09   8   effect and anything broader is invalid under 251(d).

02:04:13   9                 Judge Robinson to deter this kind of conduct

02:04:18 10    ended up invalidating all of the claims including claims 24

02:04:22 11    and 25 under Section 251(d).      That was appealed to the

02:04:26 12    Federal Circuit and they roundly affirmed on claims 1 to 23,

02:04:32 13    that's important.    We'll get into what they said about that.

02:04:35 14    Because there has never been any court that looked at this

02:04:38 15    and said there was any legitimate basis for ArcelorMittal to

02:04:42 16    broaden.   The only question is for the two nonbroadened

02:04:45 17    claims, what happens to those.       We had proposed that they go

02:04:47 18    to summary judgment.     Judge Robinson had found them invalid

02:04:51 19    under 251(d).    The Federal Circuit thought that 251(d)

02:04:51 20    requires a claim by claim analysis so they vacated those two

02:04:58 21    claims which led to the second remand.

02:04:59 22                  We then filed for summary judgment again on

02:05:02 23    non-infringement and invalidity and that was when

02:05:05 24    ArcelorMittal tried to pull the rug out by saying those

02:05:08 25    claims were never in the case in the first place.
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02:05:10   1                THE COURT:    So one of the grounds on which you

02:05:13   2   seek this is a broadening reissue which you say anybody

02:05:17   3   should have known that you couldn't do a broadening reissue,

02:05:20   4   and they knew that they were doing something that they

02:05:23   5   shouldn't be doing and it was just dragging out and trying

02:05:26   6   to redo what the District Court and the Federal Circuit

02:05:29   7   said.   The Federal Circuit on the second appeal knew all

02:05:39   8   that.   Right?   And you briefed all of that to the Federal

02:05:43   9   Circuit and they considered it.       And the Federal Circuit

02:05:46 10    said in I think footnote three that there was no evidence or

02:05:52 11    allegation of bad faith with respect to the filing of the

02:06:00 12    reissue.   And then it noted that while they were cognizant

02:06:05 13    of the concerns that Judge Robinson and presumably AK Steel

02:06:09 14    had raised, they didn't think that seeking that broadening

02:06:12 15    reissue was sufficient to make them essentially rendered

02:06:19 16    unenforceable claims 24 and 25.

02:06:22 17                 So when you're asserting that just the

02:06:25 18    broadening reissue as one sort of prong of getting

02:06:30 19    attorney's fees, what am I supposed to do with those kind of

02:06:34 20    comments from the Federal Circuit where the Federal Circuit

02:06:36 21    knew all of this was going on and specifically said there is

02:06:39 22    no evidence of bad faith and we have taken that into

02:06:44 23    account, but we don't think that that even merits this --

02:06:46 24    that that rises to the level where we should invalidate

02:06:50 25    these other claims?
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02:06:52   1                 MR. LERNER:   Your Honor, I think that there is

02:06:54   2   two pieces to this.     The Federal Circuit I believe found no

02:07:00   3   bad faith because they were looking at the question of

02:07:03   4   whether there was an ineffective reissue.         Was it done for

02:07:07   5   improper purpose and essential inequitable conduct type

02:07:12   6   unenforceable theory.     They found that that was not the

02:07:16   7   case.

02:07:16   8                 If we could go to slide seven, please.

02:07:19   9                 The second quote is from the opinion, I think

02:07:22 10    this is something Your Honor just referenced.         The Federal

02:07:26 11    Circuit said, "And, while we are mindful of the concerns

02:07:29 12    over ArcelorMittal's attempts to modify the district court's

02:07:33 13    claim construction through the reissue process, we are not

02:07:36 14    persuaded that these policy concerns demand we part from our

02:07:38 15    precedent."

02:07:39 16                  As a matter of invalidity that's what the court

02:07:42 17    was saying.   And so as we read this, what the court was

02:07:45 18    saying, we can go through on claims 1 to 23, claims 1 to 23

02:07:50 19    were undoubtedly invalid.      I don't think anyone can credibly

02:07:55 20    contend that ArcelorMittal didn't know this was an invalid

02:07:56 21    reissue, at least as to those claims.

02:07:57 22                  For claims 24 and 25, Judge Robinson said as a

02:08:01 23    matter of policy, this is in DI-306, memorandum and order,

02:08:06 24    if she didn't invalidate claims 24 and 25, she said it would

02:08:10 25    encourage applicants to circumvent unfavorable litigation
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02:08:13   1   outcomes, thereby burdening both the PTO and the courts with

02:08:16   2   competing administrative and judicial submissions.

02:08:21   3                The Federal Circuit was I think saying

02:08:23   4   specifically they're mindful of those concerns.         They're not

02:08:26   5   disagreeing that they're valid concerns, but that Section

02:08:31   6   251(d) is not the vehicle to address them.        We maintain

02:08:35   7   section 285(d) is the vehicle to address them.

02:08:38   8                As a matter of invalidity of those claims,

02:08:40   9   because there wasn't a quote unquote improper purpose, they

02:08:43 10    couldn't be rendered unenforceable.       But that's an

02:08:48 11    analytically different question from whether under Octane

02:08:51 12    this case stands out for the strength of the parties'

02:08:55 13    positions and for the way the case was litigated.         For that,

02:08:59 14    I'm going to go to slide six.

02:09:02 15                 The Federal Circuit dealt with and disposed of

02:09:06 16    ArcelorMittal's arguments on claims 1 to 23 very sharply.

02:09:10 17    They say, "Permitting a reissue patent to disturb a previous

02:09:14 18    claim construction of the original claims would turn the

02:09:16 19    validity analysis under Section 251 on its head."

02:09:20 20                 They say, "If the reissue claim itself could be

02:09:23 21    used to redefine the scope of the original claim, this

02:09:26 22    comparison would be meaningless."

02:09:28 23                 They say they reject the argument ArcelorMittal

02:09:30 24    made in the reexamination context.       They soundly reject this

02:09:36 25    argument in the context of determining whether a re-examined
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02:09:39   1   patent was improperly broadened during prosecution.

02:09:43   2                  They go on to say, "We have never found that

02:09:44   3   such a reissue prosecution history is relevant to whether an

02:09:48   4   applicant broadened the scope of an original claim in the

02:09:51   5   251 analysis.    Nor could we, since such a finding would run

02:09:55   6   contrary to the plain language and purpose of 251."

02:09:58   7                  As to claims 1 to 23, the Federal Circuit is

02:10:01   8   saying that this was clearly improper.       So in our view, the

02:10:06   9   impropriety of this, which is what spawned what followed it,

02:10:11 10    is a factor that warrants an exceptional case finding.

02:10:14 11                   The public policy reasons that were of concern

02:10:16 12    to Judge Robinson, who very clearly found this to be --

02:10:22 13    let's go to slide four.     She calls what Arthur did asking me

02:10:29 14    to disregard two years of litigation.       She calls it

02:10:33 15    manipulative and says she thinks it's an abuse of process.

02:10:37 16    These are words of an exceptional case.        These are not words

02:10:41 17    that Judge Robinson would utter lightly.

02:10:43 18                   The Federal Circuit simply disagreed with the

02:10:45 19    application of 251(d) to the claims 24 and 25, but it

02:10:50 20    doesn't negate that the conduct in obtaining the reissue in

02:10:53 21    the first place and attempting to broaden it was

02:10:57 22    exceptional.

02:10:59 23                   The other part that the Federal Circuit didn't

02:11:01 24    reach because it wasn't before the court is that when

02:11:05 25    ArcelorMittal did this, it knew it had no evidence in the
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02:11:08   1   record of literal infringement or commercial success with a

02:11:13   2   nexus, the two specific issues that were remanded.

02:11:16   3                  And so we get down to the court here again on

02:11:19   4   the second remand, and we file for summary judgment then,

02:11:23   5   and what does ArcelorMittal do?      It never puts forward or

02:11:27   6   identifies evidence of record that there is some tribal

02:11:32   7   issue.   At that point, it takes a different tact and it

02:11:38   8   argues that the claims that it specifically asked the

02:11:41   9   Federal Circuit to remand in this case were never in this

02:11:46 10    case.

02:11:49 11                   So if we go to slide nine, please.

02:11:53 12                   Judge Robinson in multiple opinions has pointed

02:11:57 13    out that ArcelorMittal conceded the accused products did not

02:12:01 14    meet the limitation at issue.      This is the 1,500 megapascal

02:12:06 15    requirement.    That was true throughout the case.       If we go

02:12:10 16    to slide 8.

02:12:15 17                   As early as August of 2013, Mr. Pritikin who was

02:12:20 18    arguing on behalf of ArcelorMittal said, "I think with

02:12:23 19    respect to AK, Your Honor, I don't think that there is proof

02:12:26 20    that there was infringing product."

02:12:28 21                   The only basis they had to maintain suit was

02:12:32 22    this broadening, it wasn't claims 24 and 25 which they knew

02:12:36 23    there was no evidence were infringed, and they knew there

02:12:40 24    was no evidence of commercial success having a nexus.          All

02:12:44 25    they were relying on to maintain suit was something that was
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02:12:49   1   clearly impermissible under the statute and under precedent.

02:12:53   2   There has never been a case that's been identified that has

02:12:56   3   provided any support for what ArcelorMittal did for claims 1

02:12:59   4   to 23.

02:13:00   5                THE COURT:    What was the statement made that the

02:13:03   6   plaintiff has pointed out where AK Steel's counsel

02:13:09   7   acknowledged or in the Federal Circuit argument that some

02:13:13   8   products met the 1,500 or greater megapascal?

02:13:22   9                MR. LERNER:    That was in the first appeal.       And

02:13:24 10    Judge Robinson has a footnote in one of her opinions, and I

02:13:28 11    can find it, that clarifies this.       The original case had

02:13:31 12    three defendants, AK Steel one, and then Severstal and

02:13:37 13    Wheeling-Nisshin were two separate companies that were sued

02:13:38 14    together.   Severstal is a steel company, Wheeling-Nisshin

02:13:44 15    provided the aluminum coating.

02:13:44 16                 There was a difference between AK Steel's

02:13:47 17    product and Severstal's products in terms of their strength.

02:13:50 18    At the Federal Circuit, there was a combined oral argument.

02:13:53 19    And Mr. Sipes argued for all defendants.        And he made a

02:13:58 20    comment that there was evidence, but that was evidence as to

02:14:01 21    Severstal's product.

02:14:02 22                 The Federal Circuit in its opinion in the first

02:14:06 23    case seems to have misinterpreted that comment which Judge

02:14:12 24    Robinson addressed in one of her later opinions.         There has

02:14:15 25    never been any evidence that AK Steel had product that was
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02:14:19   1   above 1,500.    I think ArcelorMittal's counsel conceded that

02:14:24   2   in closing argument.    It was clear from the evidence at

02:14:28   3   trial.   And throughout the case, I think Mr. Pritikin's

02:14:33   4   comments reflect this.       There has never been an allegation

02:14:38   5   apart from this seeming misunderstanding by the Federal

02:14:42   6   Circuit because there was this oral argument that any AK

02:14:46   7   Steel had a strength above 1,500.

02:14:48   8                  THE COURT:    Certainly not prior to that trial;

02:14:51   9   right?

02:14:52 10                   MR. LERNER:    Correct.

02:14:53 11                   THE COURT:    There are allegations I think

02:14:56 12    currently.

02:14:56 13                   MR. LERNER:    There are allegations, and that's

02:14:58 14    part of the 685 case that is separate from this.         We're

02:15:03 15    seeking fees in the 050 case.      At various points the two

02:15:09 16    have been argued together because of the overlapping issues,

02:15:13 17    they diverge again.    This case ended with no infringement

02:15:17 18    and invalidity of the RE153, and ArcelorMittal has amended

02:15:21 19    the case in the 685 to assert a still reissue of

02:15:26 20    continuation and has argued that later conduct infringes,

02:15:30 21    making an argument, an allegation that there is products

02:15:33 22    over 1,500 now.    That patent didn't issue until 2014, and so

02:15:38 23    we're talking about different conduct there.

02:15:44 24                   THE COURT:    And then one thing before I forget,

02:15:47 25    if at some point either today or in the next few days you
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02:15:53   1   can find the cite that you were referring to that suggest

02:15:56   2   that what seems like an admission from AK Steel's counsel

02:16:03   3   during Federal Circuit argument was really just talking

02:16:06   4   about a different product, that would be helpful.

02:16:08   5                  MR. LERNER:   Yes, Your Honor.

02:16:17   6                  So there are really five basis on which we think

02:16:21   7   attorney's fees are appropriate here and the case is

02:16:24   8   exceptional.    It's not a case where the court has to find

02:16:27   9   any one independent and sufficient.       These are five factors

02:16:31 10    and it makes this case unique.      Certainly not common and one

02:16:34 11    that really does stand out.

02:16:36 12                   The first is the broadening reissue that we have

02:16:39 13    been discussing.    If we could go to slide four, please.

02:16:49 14                   We talked about Judge Robinson's reaction that

02:16:51 15    this is an abuse of process in DI-313, and in slide 5 in her

02:16:57 16    opinion, "The court concluded that ArcelorMittal post-trial

02:17:01 17    strategy offends the fundamental purpose of Section 251,

02:17:06 18    that is, repose."

02:17:09 19                   We go to slide 7.    She also thought that the

02:17:14 20    conduct requires deterrents.       She was viewing it through the

02:17:18 21    lens of invalidating claims 24 and 25.       The Federal Circuit

02:17:22 22    disagreed based on the need to look at each claim

02:17:26 23    independently.    But we think the concerns that she voiced

02:17:30 24    which were acknowledged by the Federal Circuit certainly in

02:17:35 25    the 285 context support finding of exceptional case and
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02:17:40   1   attorney's fees.

02:17:41   2                  The second ground is that from the time of the

02:17:44   3   mandate forward, ArcelorMittal knew there was no evidence of

02:17:48   4   infringement by AK Steel, and no evidence of commercial

02:17:52   5   success having a nexus.      And that is seen in Judge

02:17:56   6   Robinson's opinions where she points out, slide 9, in DI-297

02:18:04   7   and DI-338, that ArcelorMittal concedes that, that there are

02:18:09   8   not accused products that meet the limitations of the 1,500

02:18:13   9   megapascals.

02:18:15 10                   And then when the issue of commercial success

02:18:16 11    was briefed by AK Steel, ArcelorMittal never identified any

02:18:19 12    evidence in the trial record to show commercial success

02:18:23 13    having a nexus to the claims.

02:18:24 14                   THE COURT:    You're talking about when the

02:18:28 15    commercial success issue was finally addressed at the second

02:18:32 16    remand?

02:18:33 17                   MR. LERNER:   Correct.   The way we would look at

02:18:36 18    it, the only time it was substantively addressed, there was

02:18:39 19    never any evidence identified that would support there was a

02:18:43 20    finding of commercial success.      That was after the second

02:18:47 21    remand.   That led to the summary judgement of invalidity and

02:18:51 22    non-infringement that was ultimately affirmed.         So the lack

02:18:52 23    of evidence we think is another ground for an exceptional

02:18:56 24    case finding.    There was no reason for ArcelorMittal, no

02:19:00 25    basis for them to keep pressing this case when they knew
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02:19:03   1   there was a limited remand and they had no evidence that

02:19:05   2   could support their claims.

02:19:07   3                THE COURT:    That was assuming that they were

02:19:10   4   acting in good faith on the broadening of reissue or on the

02:19:14   5   reissue, they didn't address those issues because their

02:19:17   6   position was that the claim construction had indeed changed;

02:19:21   7   right?

02:19:23   8                MR. LERNER:    That's right.     And that was their

02:19:25   9   position.

02:19:25 10                 THE COURT:    So if they held that position in

02:19:29 11    good faith, that they thought the patent office gave us this

02:19:34 12    and it's presumed to be valid, we're good to go, then the

02:19:41 13    fact that they moved forward without evidence under the

02:19:43 14    prior claim construction doesn't add anything to the

02:19:46 15    assertion that you had about the broadening reissue?

02:19:51 16                 MR. LERNER:    Well, on that issue it does not add

02:19:53 17    much, I would agree with that, Your Honor.        It does for the

02:19:56 18    last remand, though, where the Federal Circuit says claims 1

02:20:00 19    to 23 are invalid, all that is left are claims 24 and 25,

02:20:05 20    from that point forward they know there is nothing left.

02:20:08 21                 But even before that, it is important we think

02:20:10 22    to separate good faith from exceptional case.         A party can

02:20:16 23    have a belief that they have a patent duly issued by the

02:20:20 24    patent office, but if that case on the patent is

02:20:23 25    exceptionally weak, it can still give rise to an exceptional
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02:20:27   1   case.   The Eastern District of Texas has found that in the

02:20:31   2   context of Section 101, not a court that's going out of its

02:20:34   3   way to find exceptional cases.      And we think the same

02:20:37   4   applies here.   For claims 1 to 23, they can articulate a

02:20:41   5   basis, but it's important to recognize, Judge Robinson found

02:20:44   6   no support for it.    The Federal Circuit found no support for

02:20:47   7   it.   And the Federal Circuit we saw roundly said we rejected

02:20:52   8   that very argument in the analogous context of

02:20:54   9   reexamination, it's contrary to the statutory text, there is

02:20:55 10    no precedential support for it, so they made the argument,

02:20:59 11    but it's such a weak argument, we think that even though the

02:21:03 12    Federal Circuit didn't as a penalty invalidate claims 24 and

02:21:08 13    25, it still supports a finding of an exceptional case.

02:21:11 14                 If we go to slide 10, one other very important

02:21:15 15    piece of the context here is at the same time this is going

02:21:18 16    on, ArcelorMittal is going to perspective customers of AK

02:21:23 17    Steel and threatening them.      This is a letter from DI-271,

02:21:30 18    Exhibit A, that says, "As our valid customer, we want to

02:21:33 19    inform you of the situation and potential risks associated

02:21:36 20    with using aluminum pre-coated hot rolled or cold rolled

02:21:41 21    steels with UTS of 1,000 megapascals or higher that is not

02:21:46 22    produced by ArcelorMittal.     This is an infringement of

02:21:50 23    ArcelorMittal's Usibor-AS patent, which may result in the

02:21:56 24    company recovering damages and other remedies."

02:21:59 25                 So just after the Federal Circuit has affirmed
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02:22:01   1   that the claims are limited to 1,500 or higher, issued its

02:22:01   2   mandate, ArcelorMittal is going out to AK Steel's

02:22:03   3   perspective customers, this is from their general counsel,

02:22:05   4   and saying don't buy from them because you may be liable for

02:22:08   5   a patent infringement.

02:22:09   6                This is all based on the 1,000 which there was

02:22:13   7   no legitimate basis for them to believe was supported given

02:22:17   8   that they sought to broaden the patent over a decade after

02:22:21   9   it issued, or approximately a decade after it issued.

02:22:24 10                 The Court may appreciate that the past ten years

02:22:29 11    have not been good ones for the U.S. steel industry.          AK

02:22:32 12    Steel was making a product, was selling a product that it

02:22:36 13    gotten a jury verdict and a Federal Circuit judgment

02:22:40 14    supporting, and ArcelorMittal is going out and telling

02:22:43 15    people not to buy from them because they may face liability

02:22:46 16    for patent infringement.     That's again something that we

02:22:49 17    think fits into the analysis here and warrants deterrents.

02:22:53 18                 If we go to the next slide, slide 11 --

02:22:56 19                 THE COURT:    So you were giving me your five

02:23:00 20    basis.

02:23:00 21                 MR. LERNER:    Yes.

02:23:01 22                 THE COURT:    And broadening reissue, continuing

02:23:04 23    forward knowing lack of evidence, was the statements to the

02:23:07 24    customers part of that, or number three?

02:23:10 25                 MR. LERNER:    That was number three, Your Honor.
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02:23:12   1   Thank you.    Number three was improperly threatening

02:23:15   2   perspective customers with the specter of patent

02:23:18   3   infringement liability all the while.

02:23:21   4                 And then number four is ArcelorMittal taking a

02:23:24   5   series of inconsistent litigation positions to try to

02:23:28   6   prolong the litigation.     One very clear example is in the

02:23:34   7   second appeal on the reissue patent, they go to the Federal

02:23:38   8   Circuit and say even if only reissue claims 24 and 25

02:23:42   9   remain, there is evidence that those claims were infringed

02:23:44 10    during the time period at issue in the '050 case.         This

02:23:48 11    isn't about later, this is they said the '050 case.          The

02:23:51 12    proper remedy they say is therefore to remand the '050 case

02:23:55 13    so that the district court can address infringement of

02:23:59 14    reissue claims 24 and 25.     The Federal Circuit does what

02:24:03 15    they ask.    They turn around and before this court say claims

02:24:07 16    24 and 25 of the RE153 patent which are the subject of the

02:24:11 17    defendant's motions, or motions for summary judgment, are

02:24:15 18    not and have never been part of the present case.         That yo

02:24:19 19    yo not only took up this Court's time, but was briefed

02:24:22 20    before the Federal Circuit.      The Federal Circuit rejected

02:24:25 21    it.   But this is the kind of inconsistency that just added

02:24:29 22    to the cost of and delay of the litigation.

02:24:32 23                  Second is slide 12, with expect to a covenant

02:24:36 24    not to sue.   We talk about the 685 case which was filed in

02:24:42 25    parallel.    ArcelorMittal saw the writing on the wall and
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02:24:44   1   wanted to -- wanted to amend the 685 case to put in a

02:24:49   2   different reissue patent, a continuation that they received.

02:24:53   3   They didn't want to moot that case by giving covenant on the

02:24:56   4   RE153, so they asked the court, they said, "Arcelor tenders

02:25:03   5   the covenant conditioned on resolution of its motion to

02:25:06   6   amend the 685 case.    As explained at the hearing, this

02:25:12   7   condition is necessary to avoid mooting the 685 case and

02:25:15   8   thereby divesting the Court of jurisdiction."

02:25:18   9                When the court grants summary judgment before

02:25:21 10    allowing the amendment, if you go to slide 13, on appeal

02:25:24 11    they tell the Federal Circuit the covenant was always

02:25:28 12    unconditional.   They say, "Where a covenant not the sue is,

02:25:32 13    like the covenant in this case, fully executed, 'facially

02:25:36 14    unconditional,' and delivered to the defendants, no

02:25:39 15    extrinsic circumstances, whether 'procedural gimmicks' or

02:25:43 16    otherwise, can vest a federal court with authority to

02:25:47 17    resolve a non-existent controversy."

02:25:47 18                 Procedural gimmicks is the favorable dissent

02:25:50 19    that they were citing.     The dissenting judge who they say is

02:25:53 20    in their favor called this a gimmick by them.

02:25:57 21                 So they're telling the courts two different

02:25:59 22    things, this Court and the Federal Circuit.        That's another

02:26:01 23    example of the inconsistent positions that have increased

02:26:05 24    costs.

02:26:05 25                 THE COURT:    But that position, does the fact
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02:26:08   1   that Judge Wallach in his dissent pretty strongly sided with

02:26:15   2   them saying facially that covenant by its terms was

02:26:21   3   unconditional, and recognizing that the letter had some

02:26:24   4   language that was conditional, but the letter also said it's

02:26:28   5   an -- here is an executed covenant that by its terms is not

02:26:33   6   conditional.    Does the fact that Judge Wallach said that in

02:26:37   7   his dissent suggest that maybe this position wasn't quite

02:26:46   8   as, I don't want to say frivolous, but as spurious as you're

02:26:52   9   suggesting?

02:26:52 10                   MR. LERNER:   I don't think so.    If you go back

02:26:54 11    to slide 12.

02:26:55 12                   THE COURT:    Because I'm not seeing where

02:26:57 13    ArcelorMittal said, specifically said look, this is a

02:27:00 14    conditional covenant, other than -- I get it with the

02:27:03 15    letter, but in the dissent, the judge wasn't seeing that

02:27:08 16    those as being two inconsistent positions.

02:27:12 17                   MR. LERNER:   I think the first one there is a

02:27:14 18    dissent, the majority looked at it very differently.          The

02:27:17 19    majority explained that you have to consider all of the

02:27:20 20    evidence together and the cover letter has to be considered

02:27:22 21    together with the attachment to it if it was the covenant.

02:27:26 22                   THE COURT:    Doesn't the fact that the dissent

02:27:28 23    tell you that the position was not necessarily unreasonable

02:27:31 24    unless you're telling me that the position in the dissent

02:27:34 25    was unreasonable.
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02:27:38   1                MR. LERNER:    I think it's not inconsistent.

02:27:42   2   What the dissent was saying is what ArcelorMittal told this

02:27:46   3   Court was wrong.    The dissent essentially is saying

02:27:50   4   everything you said in this letter was untrue because it

02:27:53   5   wasn't conditioned.    You know, you said it was conditioned

02:27:57   6   but it wasn't.    I think the problem that the dissent doesn't

02:28:01   7   address is judicial estoppel.      They wanted the 685 complaint

02:28:06   8   amended and they couldn't do that if it was mooted.          The

02:28:08   9   only patent asserted at the time was the '153.         So if they

02:28:12 10    gave a covenant not to sue, it would have mooted that case,

02:28:15 11    too.   But they were asking the court to grant them an

02:28:17 12    amendment.

02:28:18 13                 And so the only way to understand this is they

02:28:20 14    wanted the case to continue until such time as amendment of

02:28:24 15    the 685 case was granted.

02:28:26 16                 THE COURT:    I understand that they were saying

02:28:36 17    we tender this on the condition that the motion to amend is

02:28:40 18    entered.   But could anyone have done anything with an

02:28:45 19    executed covenant that by its terms is not conditional, even

02:28:51 20    if that amendment hadn't been allowed?

02:28:56 21                 MR. LERNER:    I'm not sure what position we would

02:28:59 22    have been in at that point.      But I think the fact here is if

02:29:04 23    you accept Judge Wallach, and we submit he was the dissent,

02:29:08 24    so it's less persuasive, it is inconsistent with what this

02:29:12 25    Court was told.    Either way one looks at it, Judge Wallach
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02:29:16   1   was saying essentially whatever was said to the district

02:29:19   2   court, the covenant if you ignore the cover letter was

02:29:23   3   unconditional.

02:29:24   4                THE COURT:    He wasn't saying ignore the cover

02:29:26   5   letter.

02:29:26   6                MR. LERNER:    He was saying the cover letter is

02:29:29   7   not part of what you need to interpret to understand the

02:29:31   8   covenant.   But if that was the case then what this Court was

02:29:34   9   being told was incorrect because this Court would have not

02:29:37 10    have had authority to grant an amendment for the 685 case.

02:29:41 11    ArcelorMittal was trying to have it both ways.         And even he

02:29:45 12    had to call it a gimmick.     Again, whether it was successful

02:29:48 13    or not, it is the kind of conduct that prolonged the

02:29:51 14    litigation, led to further appeal, and increased the cost in

02:29:56 15    what the court had to do.

02:29:58 16                 But the fifth point and the fifth reason for a

02:30:01 17    finding of exceptional case here is the covenant, setting

02:30:04 18    aside whether it was conditional or not.        This covenant

02:30:08 19    didn't come after trial, before the first appeal, on the

02:30:11 20    initial remand.    If one looks at the course of this

02:30:15 21    litigation, complaint filed 2010; jury trial; ArcelorMittal

02:30:20 22    takes an appeal; effectively loses it; gets a reissue

02:30:24 23    patent; most of that is invalidated; they ask for a remand

02:30:30 24    and they get that.    Only after summary judgment is briefed

02:30:33 25    and AK Steel has demonstrated non-infringement and
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02:30:37   1   invalidity based on obviousness, do they come in say well,

02:30:41   2   maybe we'll give you a covenant and then only after the

02:30:45   3   briefing is done did they say whether conditional or not,

02:30:47   4   here is a covenant not to sue.      That itself gives rise to

02:30:51   5   exceptional case when you take into account the fact that

02:30:54   6   that covenant wasn't intended to bring peace to this

02:30:57   7   dispute, that covenant was intended once again through a

02:31:01   8   different procedural mechanism to undo the original case and

02:31:05   9   avoid the preclusive effects of the original judgment so

02:31:08 10    they could pursue the 685 case without estoppel effects.

02:31:14 11    That's what it was all about.

02:31:15 12                  And that we think is a very serious misuse of

02:31:19 13    covenants.    If they wanted to give peace, that would be one

02:31:23 14    thing, but having done it on the cusp of summary judgment,

02:31:27 15    after a jury verdict, after multiple appeals, that's

02:31:30 16    something else that takes this case far outside the

02:31:33 17    mainstream.   And again, they only did it because they had no

02:31:36 18    substantive response to the summary judgment motion.

02:31:38 19                  So for those five reasons we think this is an

02:31:41 20    exceptional case.    Whether or not any one independently

02:31:44 21    would make it exceptional the court need not decide if the

02:31:48 22    totality of the circumstances, this really is a special

02:31:50 23    case.   As I said, we're not seeking attorney's fees for the

02:31:54 24    time up through the first trial.      We got a jury verdict of

02:31:58 25    non-infringement of invalidity.      That was largely affirmed.
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02:32:01   1   If that were where the case ended, we wouldn't be here

02:32:04   2   asking for attorney's fees.      It's all of the games that have

02:32:07   3   played since then to prolong the litigation while all of AK

02:32:13   4   Steel's customers have been threatened.

02:32:16   5                  If we go to 15, a good place to end is

02:32:21   6   commentary from Judge Moore during the third appeal where

02:32:25   7   the court was being confronted with these issues of subject

02:32:31   8   matter jurisdiction.    She said, So, I don't know why the

02:32:34   9   heck you're standing here and taking up all this time on

02:32:36 10    these two claims, because they're clearly invalid.          So why

02:32:41 11    are we here?    Tell me why I'm spending my morning discussing

02:32:45 12    subject matter jurisdiction with you and you're fighting me

02:32:49 13    over these two claims which have not the sliverest of hope

02:32:54 14    of being held not obvious."

02:32:54 15                   That's the finding, that's what they were trying

02:32:56 16    to avoid with the covenant not to sue.       That's going to have

02:32:57 17    an effect on the 685 case.     The estoppel effect of

02:33:02 18    invalidity is something that we think will be very

02:33:04 19    significant and probably determinative, although that's a

02:33:07 20    topic for another day, but all the while they were

02:33:10 21    litigating on these patents that the court recognized

02:33:13 22    haven't the sliverest chance of being held nonobvious.

02:33:17 23                   So for all these reasons we think that after the

02:33:20 24    Federal Circuit's mandate in the original case issued and

02:33:24 25    ArcelorMittal tried to make an end run around that through
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02:33:28   1   the improper reissue, from that time forward the case was an

02:33:34   2   exceptional one.

02:33:35   3                 Thank you.

02:33:36   4                 THE COURT:    Thank you.

02:33:38   5                 MR. ABRAMS:   Could you turn to your slide 2 for

02:33:41   6   me, please.

02:33:43   7                 Good afternoon, Your Honor, Hugh Abrams on

02:33:46   8   behalf of the plaintiffs.

02:33:47   9                 THE COURT:    Good afternoon.

02:33:48 10                  MR. ABRAMS:   I point to defendant's slide which

02:33:50 11    is a litigation timeline.     And what I find interesting is

02:33:55 12    that missing completely is the decision of the Federal

02:34:00 13    Circuit from last month in 2018.      The case as far as they're

02:34:06 14    concerned stopped in 2017.

02:34:08 15                  What's critical about the decision of the

02:34:11 16    Federal Circuit in what we have now called ArcelorMittal IV

02:34:15 17    on November 5th, is it confirms that ArcelorMittal has had

02:34:21 18    and still has a good faith basis for pursuing this

02:34:26 19    litigation.

02:34:26 20                  What the Federal Circuit said is that -- and I'm

02:34:30 21    going to turn over to our side.      The Federal Circuit said

02:34:34 22    that in the 685 case, there is evidence that AK Steel is

02:34:40 23    infringing.   They're saying you have a good faith basis to

02:34:44 24    go forward and you're entitled to discovery on it.          That

02:34:47 25    evidence that they're referring to was put forward in 2013.
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02:34:53   1   In other words, we came to the court and we said there is

02:34:57   2   new evidence showing that now after the trial, AK Steel has

02:35:01   3   changed its process.

02:35:02   4                And I'll go through it in a second and explain a

02:35:05   5   little bit about the process differences, but AK at the time

02:35:08   6   of the first trial was only selling experimental product.

02:35:12   7   And then after the trial was over, AK then went and sold

02:35:17   8   commercial product to commercial hot stampers.         What we did

02:35:22   9   is we came in and we said to the court, we put in a

02:35:25 10    declaration which the Federal Circuit refers to from

02:35:28 11    Mr. Millius where he says there is evidence that steel from

02:35:31 12    AK is being hot stamped and it's ending up at General

02:35:36 13    Motors, automotive manufacturer, and the General Motors

02:35:39 14    slide which is attached to Mr. Millius' declaration says it

02:35:44 15    exceeds 1,500.

02:35:45 16                 So we told the court look, there is now evidence

02:35:49 17    that they're doing something different.        And the whole

02:35:52 18    dispute what it came down to was this idea of oh, no, in

02:35:57 19    this first case, in the 050 case, Judge Robinson said, and

02:36:02 20    this was in her discretion, we're going to limit you to the

02:36:05 21    record that was at the first trial.       And we said fine, Your

02:36:08 22    Honor, but there is this new record and so when we talk

02:36:10 23    about commercial success and we talk about infringement, et

02:36:13 24    cetera, there is all this other stuff that's now going on in

02:36:16 25    the field.
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02:36:17   1                What's important about what the Federal Circuit

02:36:19   2   says in the ArcelorMittal IV case is is that yes, Judge

02:36:24   3   Robinson said you can't do this, you can't do that, but her

02:36:27   4   concerns were all unfounded.      The court says specifically

02:36:30   5   you, ArcelorMittal, are entitled now today in 2018 to

02:36:35   6   discovery on this very issue of whether or not they're

02:36:40   7   selling steel above 1,500.

02:36:42   8                So I find it unfortunate that counsel for AK

02:36:47   9   Steel would stand up here and say -- I wrote down -- that

02:36:50 10    this case would have ended years ago.       No, it wouldn't have.

02:36:54 11    This case has gone on because in -- we put into the record

02:36:58 12    in 2013 this evidence of infringement that finally the

02:37:03 13    Federal Circuit is now saying, oh, hey, you were right,

02:37:07 14    you're entitled to discovery on that.

02:37:10 15                 So the whole premise of AK's motion, this idea

02:37:15 16    that ArcelorMittal prolonged this litigation, we stretched

02:37:18 17    things out, we did this, we did that, is just not true based

02:37:22 18    on what the Federal Circuit is now saying in ArcelorMittal

02:37:24 19    IV.

02:37:24 20                 And that's not discussed at all by AK Steel.

02:37:28 21                 THE COURT:    With respect to what you just said,

02:37:33 22    it seems to me, and I'm looking at slide 11 of defendant's

02:37:41 23    presentation, that ArcelorMittal was telling the Federal

02:37:45 24    Circuit not what you just told me which is we think that

02:37:48 25    they changed their product later, but that during the time
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02:37:55   1   period at issue in the earlier case, there was evidence of

02:38:02   2   infringement.   So how is that consistent with -- how is that

02:38:06   3   not -- how is that not untrue?

02:38:10   4                MR. ABRAMS:    Well, there was evidence of

02:38:14   5   infringement, we believe under the Doctrine of Equivalents

02:38:15   6   and that's where we are and we lost.

02:38:17   7                THE COURT:    Not on remand.     There was a remand

02:38:21   8   for talking about literal infringement and commercial

02:38:24   9   success.   And that's where Judge Robinson invalidated the

02:38:27 10    claims, all the claims for the reissue.        When that was

02:38:31 11    appealed, and maybe we can pull up, please, if we could,

02:38:38 12    defendant's slide 11.

02:38:41 13                 MR. ABRAMS:    Sure.

02:38:41 14                 THE COURT:    This is from your client's brief on

02:38:45 15    the left there on that second appeal.

02:38:48 16                 MR. ABRAMS:    Correct.

02:38:48 17                 THE COURT:    And it says even if only reissue

02:38:51 18    claims 24 and 25 remain, there is evidence that those claims

02:38:55 19    were infringed during the time period at issue in the 050

02:39:00 20    case.   And that doesn't sound like you're telling them oh,

02:39:03 21    we think there is evidence they changed their process later,

02:39:06 22    it sounds like you're saying no, we actually have evidence

02:39:10 23    that those claims were infringed at the time.         Isn't that

02:39:14 24    what that says?

02:39:15 25                 MR. ABRAMS:    Well, what we were saying is that
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02:39:17   1   reissued claims, we thought 24 and 25, would remain in the

02:39:21   2   casing regardless even if the Federal Circuit invalidated

02:39:24   3   them.   But yes, we felt there was evidence of infringement

02:39:27   4   and that was the evidence I'm talking about.        We gave that

02:39:30   5   evidence to the court.     This is dated in 2014.      You can see

02:39:33   6   on the brief.    As of 2013, we had given evidence to say

02:39:37   7   there is evidence that they're infringing.

02:39:40   8                The question was how are we going to be able to

02:39:43   9   get it into the record in 050.       What was happening is Judge

02:39:47 10    Robinson was saying I'm not going to let you reopen the

02:39:50 11    record in 050.   And we said wait a minute, now we have got

02:39:54 12    all this new evidence.     And so that's why we say here the

02:39:57 13    remedy is to remand --

02:39:58 14                 THE COURT:    Wait.   Could I ask you one thing

02:39:59 15    before you continue.    Could you move the microphone away.

02:40:03 16    You're getting loud and it sounds like you're yelling.          It's

02:40:06 17    okay.

02:40:07 18                 MR. ABRAMS:    Sorry.

02:40:08 19                 THE COURT:    Does it not stay up?

02:40:12 20                 MR. ABRAMS:    There it goes.

02:40:14 21                 THE COURT:    I turned the volume down, now I

02:40:17 22    probably won't be able to hear you.

02:40:19 23                 But what I'm not understand is what does the

02:40:22 24    phrase during the time period at issue in the 050 case mean?

02:40:27 25    And how is it consistent that you then later said, oh, yeah,
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02:40:31   1   we never asserted those claims in the 050 case?

02:40:35   2                 MR. ABRAMS:   Well, I would have to look at the

02:40:38   3   specific brief on this to be honest.       What I believe --

02:40:41   4                 THE COURT:    You know this brief is at issue for

02:40:43   5   this argument today and they made this argument all over

02:40:47   6   their briefs.

02:40:48   7                 MR. ABRAMS:   Our position is that when we're

02:40:50   8   talking about that evidence, we're saying we attempted to

02:40:52   9   put in, we have been attempting to put evidence into the 050

02:40:56 10    case which shows that there is still infringement of these

02:40:59 11    claims, which would be above 1,500.       So our point is even if

02:41:05 12    only 24 and 25 remain, which everyone I think agreed

02:41:10 13    required over 1,500, we were saying there is evidence that

02:41:13 14    those claims were infringed during the time period at issue.

02:41:17 15    In other words, not in the record, but saying when that --

02:41:20 16    during the period of time from the beginning up until today.

02:41:25 17                  I mean, our point -- I mean, if you'll go back

02:41:27 18    and look at the position we took, they pointed to

02:41:30 19    Mr. Pritikin, he said -- we said to the court, there is no

02:41:33 20    evidence of AK Steel itself having something greater than

02:41:37 21    1,500.   And what is unfortunate is that they cut the rest of

02:41:40 22    that.    So what Mr. Pritikin then says is well, Your Honor,

02:41:44 23    we can either reopen the record in 050 and hear the new

02:41:48 24    evidence based on this, or we can just go to the new case,

02:41:52 25    the 685 case in which we brought a new case, so we can go
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02:41:56   1   with that case.    We were saying we could go either way.

02:41:59   2                Now, what our point was in terms of claims 24

02:42:02   3   and 25 was they were not -- they never existed at the time

02:42:08   4   of the first trial.    In terms of the claims that were

02:42:11   5   asserted, it was claims 1, 2, 5, et cetera.        Claims 24 and

02:42:16   6   25 came later.

02:42:17   7                THE COURT:    But there was no dispute that those

02:42:19   8   had the same breadth as claims that were asserted.          I

02:42:25   9   thought that was agreed upon and even quoted in the Federal

02:42:29 10    Circuit opinion.

02:42:29 11                 MR. ABRAMS:    There is a dispute on that in the

02:42:31 12    sense that we believe that those are different claims.          They

02:42:34 13    have additional requirements to them.       And so, I mean Judge

02:42:38 14    Moore can say it hasn't the sliverest chance of being held

02:42:44 15    valid.   The fact is those claims went before the patent

02:42:47 16    office, all the art was given to the patent office.          There

02:42:50 17    is no dispute, there is no allegation here that

02:42:52 18    ArcelorMittal withheld anything or did anything improper, so

02:42:55 19    those are presumptively valid and we believe we would

02:42:59 20    succeed in that.    Not only that, we believe we succeed on a

02:43:03 21    commercial success case because since the time of the first

02:43:06 22    trial, the hot stamping business has gone bananas as a

02:43:10 23    result of this patent and as a result of this technology.

02:43:13 24    In fact, AK Steel has even recently spent I think tens of

02:43:18 25    millions of dollars buying a big stamping operation so that
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02:43:22   1   they can be involved in the stamping.       That all goes to the

02:43:25   2   commercial success.

02:43:26   3                So the problem we had was Judge Robinson was

02:43:28   4   saying to us, I'm going to limit you, or effectively saying

02:43:31   5   I think it's the original record, which as we said, that's

02:43:35   6   her discretion.    Our position was we should be able to if

02:43:38   7   judge, now on remand we're going to consider commercial

02:43:41   8   success, we ought to be able to put into evidence at least,

02:43:44   9   for example, this declaration from Mr. Millius that shows

02:43:48 10    that they are now selling steel that infringes.         And she

02:43:53 11    said effectively no.    And so we said fine, we would go with

02:43:57 12    the 685 case.

02:43:58 13                 And then we went to the 685 case.        Judge

02:44:01 14    Robinson said no, I'm going to say that there is no evidence

02:44:07 15    in there of infringement.     We were like we have the same

02:44:10 16    Millius declaration, we have declaration of counsel saying

02:44:15 17    here is the discovery we should take.       She says no.      I'm

02:44:20 18    going to deny that.    That goes up on appeal and now the

02:44:23 19    Federal Circuit says no, ArcelorMittal was correct, you are

02:44:26 20    entitled to have some discovery and this is the discovery

02:44:29 21    that you can take and you brought it.

02:44:30 22                 So my point is with ArcelorMittal IV, what it

02:44:33 23    tells us is that our position all along has been that this

02:44:39 24    evidence that we present in 2013, based on that we believe

02:44:44 25    we have a good faith basis to pursue a claim of
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02:44:47   1   infringement.   And the Federal Circuit has said yes, you do.

02:44:50   2                So when counsel for AK says well, this case

02:44:53   3   would have ended, it all would have gone away, we spent all

02:44:58   4   this money, I find that amazing that he would make that

02:45:01   5   comment given that the Federal Circuit says we're still

02:45:05   6   going forward now and we're going to be going forward

02:45:08   7   because there is a remand coming.       And we expect Your Honor

02:45:11   8   will get the case given that it's related to this one.

02:45:16   9                And second, when counsel says well, you

02:45:20 10    ArcelorMittal, you went out and told the customers that they

02:45:22 11    were infringing.    Well, because we have the Millius

02:45:25 12    declaration which said you're selling to GM above 1,500.

02:45:30 13                 THE COURT:    But that letter that was shown to me

02:45:32 14    didn't say and now they have product that meets the 1,500.

02:45:40 15                 MR. ABRAMS:    No, it didn't.

02:45:41 16                 THE COURT:    It said 1,000, and 1,000 was not

02:45:43 17    what the Federal Circuit had interpreted the claims to say.

02:45:46 18                 MR. ABRAMS:    Absolutely, Your Honor.      You're

02:45:48 19    absolutely right.    I think that is correct.      But my point is

02:45:51 20    we certainly had a right to send a letter out and say look,

02:45:55 21    we're pursuing infringement of this patent.

02:45:57 22                 THE COURT:    But you were saying you were

02:46:00 23    pursuing infringement for things that you knew from the

02:46:05 24    Federal Circuit weren't covered.

02:46:06 25                 MR. ABRAMS:    Well, at the time, that was before
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02:46:09   1   the second case.    What happened was on the remand, we never

02:46:12   2   argued to this Court that the claims are completely

02:46:15   3   different, the construction, what we said was there are

02:46:18   4   exceptions to the mandate rule and we said we gave Federal

02:46:22   5   Circuit and Third Circuit authority saying when there is new

02:46:27   6   evidence, then the mandate, there is an exception to the

02:46:29   7   mandate rule.

02:46:30   8                 We then pointed out there are several cases we

02:46:33   9   cited, the Eolas case, the Fresenius case, where -- and even

02:46:38 10    the Golden Bridge case which is a case out of Delaware where

02:46:42 11    the courts have said subsequent prosecution history whether

02:46:45 12    the process -- whether there is a situation where things

02:46:49 13    have occurred subsequent to a Federal Circuit ruling, you

02:46:52 14    can consider that, or should consider it.

02:46:55 15                  And so our position with the court we came in

02:46:58 16    and said, I don't think there is an exception to the mandate

02:47:02 17    rule.   We went in and we were entitled to go find -- go move

02:47:06 18    for a reissue.   What we did on the reissue, if I can put up

02:47:09 19    our slide here, jump ahead to, if I can get slide nine,

02:47:25 20    please.   The original claim said very high mechanical

02:47:29 21    resistance.   So we had a Federal Circuit ruling where in

02:47:34 22    dissent Judge Wallach said I agree with ArcelorMittal that

02:47:39 23    very high mechanical resistance is not limited to 1,500,

02:47:43 24    that there is evidence in the specification that says it can

02:47:46 25    support 1,000.   He was the dissent.
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02:47:49   1                THE COURT:    But the majority said no, that's not

02:47:51   2   it.

02:47:52   3                MR. ABRAMS:    But we took that and we gave that

02:47:54   4   to the patent office along with -- what we did was we added

02:47:57   5   a new claim 23 and 24.     And in 23 we said 1,000 MPa and in

02:48:02   6   24 we said 1,500.    And there is -- and the Federal Circuit

02:48:05   7   has said that there is -- as you pointed out, there is no

02:48:09   8   allegation here that we did anything improper.

02:48:12   9                After we get the reissue, which I think we're

02:48:14 10    entitled to get a reissue, we came to the court and the

02:48:17 11    counsel for AK says, well, there is no reason, no one could

02:48:21 12    even possible allege that claims 1 through 23 are not

02:48:24 13    invalid.   I disagree.    Judge Robinson could have said claim

02:48:29 14    1 has been resolved with my construction, it's been

02:48:33 15    confirmed, it's limited to 1,500.       I'm not going to -- it's

02:48:37 16    not broader, it stays at 1,500.      Claim 23, that's invalid

02:48:42 17    because now claim 23 you have broadened.        Claim 24 and claim

02:48:47 18    25, those -- so Judge Robinson could have said claims 1

02:48:52 19    through 22 stay the same construction, the 1,500.         And, in

02:48:58 20    fact, I believe it was AK that actually put into a brief

02:49:01 21    that that is one option that the court had.        The.

02:49:04 22                 Second option Judge Robinson could have done is

02:49:07 23    say okay, I'm going to reconsider this.        I'm going to take a

02:49:11 24    look at this, and based on what you have said, there are no

02:49:14 25    cases, none, that say that this is somehow improper.          What
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02:49:18   1   the cases say is you don't look at necessarily a claim

02:49:22   2   differentiation issue such as 1,000 MPa, it doesn't

02:49:28   3   necessarily trump other claim construction points, but our

02:49:31   4   point was look, this claim construction was disputed,

02:49:34   5   strongly disputed.    In fact, we had a Federal Circuit judge

02:49:37   6   who came out on our side.     There is nothing in the claim

02:49:40   7   itself, claim 1 itself that says 1,000.        That was the

02:49:44   8   court's ruling, which we respect, but we think the judge

02:49:47   9   said no, I'm not going to reconsider that.

02:49:50 10                  But then what Judge Robinson said is she said

02:49:52 11    I'm going to go and I'm going to invalidate claims 24 and 25

02:49:57 12    because I think what you're doing is an abuse of the

02:50:01 13    process.   These statements that the other side points to

02:50:04 14    relate to Judge Robinson saying the whole patent goes,

02:50:06 15    claims 1 through 25, it all goes.

02:50:09 16                  Back to your very first question, Your Honor,

02:50:11 17    when you said why didn't AK pursue commercial success on

02:50:15 18    remand.    The reason was because AK came in with all guns

02:50:19 19    blazing saying this patent is invalid, they have broadened

02:50:22 20    all the claims, the whole thing is invalid.        And Judge

02:50:26 21    Robinson agreed.    And she wiped out claims 1 through 25.

02:50:30 22                  THE COURT:   If they didn't come in and move for

02:50:32 23    summary judgment on invalidity based on the reissue, they

02:50:34 24    had a pretty straightforward brief and they said look, here

02:50:37 25    is the record evidence and we don't meet this element.
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02:50:41   1                MR. ABRAMS:    Their first brief, when we filed

02:50:44   2   the new case, their first move was to file almost

02:50:48   3   immediately a motion to dismiss and it was a motion to

02:50:50   4   dismiss based on a broadening claim construction.

02:50:53   5                THE COURT:    But their summary judgment motion,

02:50:55   6   the one that you just said they were guns blazing and they

02:50:58   7   said this patent is invalid, their summary judgment motion

02:51:02   8   was a motion for non-infringement, summary judgment of no

02:51:05   9   infringement based on the record evidence saying there is no

02:51:08 10    evidence that you meet that 1,500 MPa limitation, so I'm

02:51:14 11    still not sure I understand how we never dealt with

02:51:16 12    commercial success.

02:51:16 13                 MR. ABRAMS:    I think the answer is when AK came

02:51:19 14    into court and argued this, they convinced Judge Robinson

02:51:22 15    that the broaden issue is that the broadening claims is the

02:51:25 16    more important issue and she decided she was going to

02:51:28 17    invalidate all the claims and she found everything else

02:51:31 18    moot.   So she never reached that commercial success in the

02:51:35 19    first case, she never reached the non-infringement.          We had

02:51:38 20    filed a motion to amend and she said that's moot because I'm

02:51:43 21    invalidating all the claims of all the patents.         We came

02:51:45 22    back -- actually there was a point when we came back and

02:51:49 23    said judge, are you sure you're invalidated 24 and 25,

02:51:54 24    because AK never asked for an invalidation of those two.

02:51:57 25    And she came back with a ruling and said I most certainly am
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02:51:59   1   invalidating 24 and 25.      And that was went out on appeal in

02:52:03   2   the ArcelorMittal case.

02:52:05   3                  THE COURT:    But when AK in its briefs before

02:52:10   4   Judge Robinson on the non-infringement issue, when they

02:52:12   5   mentioned claims 24 and 25, they said we think these claims

02:52:16   6   should be invalidated on the remand under the obviousness

02:52:20   7   portion of the remand, and ArcelorMittal didn't disagree

02:52:24   8   with that and didn't say oh, there is no jurisdiction or

02:52:28   9   anything like that.    Right?

02:52:30 10                   MR. ABRAMS:    Correct.   Our only response I

02:52:34 11    believe was about the claim construction and everything

02:52:35 12    else.   I don't believe we ever argued on that.        What

02:52:37 13    happened then is when the case came back, we realized that

02:52:42 14    we, ArcelorMittal, realized we weren't going to get -- you

02:52:46 15    know, we decided we better go with the 685 case and we ought

02:52:50 16    to go with the RE940 patent.      We came into court and I stood

02:52:56 17    in Judge Robinson's courtroom in this hall, I'm the one who

02:53:00 18    said to her, Your Honor, we're the ones who are giving them

02:53:03 19    a free ride.    We are not going to assert claims 24 and 25.

02:53:07 20    Yes, those claims were part of the case because Judge

02:53:10 21    Robinson had made them part of the case.        And it went on

02:53:13 22    appeal.   So when judge Moore says, well, what the heck, what

02:53:16 23    are you talking about?       Of course it was before on the case,

02:53:20 24    because Judge Robinson had invalidated it.

02:53:21 25                   Our position was, we said Your Honor, we had
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02:53:24   1   never asserted those claims, we only asserted 1, 5, 7, 9.

02:53:29   2   That was in the pretrial order.      That's in the appeal,

02:53:32   3   everything.   So we came back in and we said look, we don't

02:53:36   4   want to go forward with 24 and 25.       We would like to go

02:53:39   5   forward with the other case.      I said we're going to give

02:53:42   6   them a free pass.    I said we'll get a covenant against suit,

02:53:46   7   we'll get one signed, we'll bring it in.        We got a draft.

02:53:49   8   The other side didn't like it.      They came back, we wanted

02:53:51   9   this or that.   If you look at Mr. Bove's letter it talks

02:53:55 10    about now we have added the customers and this and that.

02:53:57 11                  And our point with that was just saying well,

02:54:00 12    judge -- and in retrospec we were wrong.        We thought well,

02:54:04 13    gosh, if you don't quote enter it, you can avoid mooting the

02:54:08 14    685 case, we said otherwise we'll just have to re-file the

02:54:12 15    case which we did do and we'll do, that's fine, we thought

02:54:15 16    administratively ironically in retrospect we're saving the

02:54:21 17    court problems.    It was Judge Robinson who said if you filed

02:54:24 18    the covenant it would have gotten the case opened.          So had

02:54:28 19    we just filed it and --

02:54:28 20                  THE COURT:    Had you not told the Federal Circuit

02:54:30 21    to remand on claims 24 and 25.

02:54:32 22                  MR. ABRAMS:   It had to remand on those claims,

02:54:34 23    Your Honor, because at that point in time those claims went

02:54:37 24    up there and the court was deciding that it wasn't going to

02:54:40 25    -- it was going to reverse on invalidity.        It had to do
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02:54:43   1   something with that.    It couldn't just toss them aside.        And

02:54:46   2   at that point we had yet to move to amend to add the '940

02:54:50   3   patent, we hadn't decided what we were going to do.

02:54:53   4                  THE COURT:    But you asked to have them remanded

02:54:54   5   to deal with the infringement issue.       I suppose you could

02:54:57   6   have just said we can't find them invalid because there is

02:55:01   7   no subject matter jurisdiction, you could have raised that

02:55:04   8   with the Federal Circuit, too; right?

02:55:06   9                  MR. ABRAMS:   There certainly was, yes, we could

02:55:08 10    have.   I think our feeling at the time was the judge brought

02:55:11 11    them into the case with her motion, we did not argue

02:55:14 12    jurisdiction.    Our pitch on jurisdiction was just we never

02:55:17 13    asserted them, that's why we didn't see why we had to go

02:55:21 14    forward with them on the case.      When we came back, we said

02:55:24 15    look, we never asserted those claims.       We don't intend to

02:55:28 16    assert them.    We'll give them a covenant, but they were part

02:55:31 17    of the case, that's true.

02:55:33 18                   THE COURT:    Is it true you didn't give them a

02:55:35 19    covenant until well into that remanded case and after all

02:55:39 20    the summary judgment briefing was done?

02:55:44 21                   MR. ABRAMS:   I don't believe so, Your Honor.          I

02:55:47 22    believe that was the first point we raised.        The short

02:55:50 23    answer to the question is yes, in terms of the first -- I

02:55:52 24    think it was the first hearing where I stood up and said

02:55:56 25    we're not asserting them, we'll give them a covenant, we'll
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02:55:59   1   resolve it that way.    I think it was Judge Moore in the

02:56:02   2   Federal Circuit said, we told Judge Moore, counsel said

02:56:05   3   we're not going to pursue this, and Judge Moore said lawyers

02:56:09   4   say some things one day and other things another day.

02:56:13   5                I don't know, to me when I stood in court saying

02:56:16   6   we're not asserting those claims, I thought it was a done

02:56:19   7   deal.   I thought it was over.     Covenant and not, I couldn't

02:56:23   8   see myself coming back in and saying changed my mind, we're

02:56:27   9   going to assert those claims.      It was just a question of

02:56:28 10    getting -- our client was in Europe, we had to get

02:56:31 11    signatures on it.    There was a whole fight about oh, well,

02:56:34 12    your covenant doesn't refer to the customers so we redrafted

02:56:38 13    and said okay, we'll put the customers in.        So in terms of

02:56:41 14    actually giving them a signed covenant laying it on the

02:56:45 15    table, that took some time.      But there was never at any

02:56:48 16    point during that -- I mean, our goal was to get rid of that

02:56:50 17    case.   It wasn't to extend it.     Our goal was we wanted to go

02:56:54 18    forward with the other case.      And so that was the point that

02:56:56 19    we were pursuing with that.

02:57:00 20                 Your Honor, if I could give you a little bit,

02:57:03 21    maybe since -- I don't know how much versed you are in steel

02:57:08 22    processing and all that, maybe a couple of minutes on the

02:57:11 23    technology in the case.     If we could go to claim slide 2.

02:57:30 24                 What these claims are effectively -- you have

02:57:33 25    the slides in front of you.      Slide 2 is the product by
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02:57:37   1   process claim slide.    What we're showing here is that just

02:57:39   2   to give you a sort of 40,000 foot view or whatever, what

02:57:44   3   these claims are talking about is taking a processing steel

02:57:48   4   and then a stamping operation so that what you end up with

02:57:51   5   are components such as these frames.       They call them pullers

02:57:55   6   or frames or bumpers in the car such as what's in red.          This

02:57:58   7   is from the -- from the AK Steel brochure which is part of

02:58:03   8   the case and is discussed in the Federal Circuit.         And those

02:58:06   9   areas need to be very, very high strength so when you get

02:58:10 10    into a crash.

02:58:11 11                 So what this -- what these claims are and this

02:58:14 12    technology is directed to providing steel for that.          If we

02:58:17 13    could go to the next slide.

02:58:18 14                 What you'll find is there is a whole rack of

02:58:26 15    composition elements in the claim.       That's what's on the

02:58:29 16    left side.   Those are in all claims.      There are amounts for

02:58:34 17    manganese, silicon, et cetera.

02:58:35 18                 AK, there is no dispute, AK makes that precise

02:58:41 19    product.   That make a steel that falls right within all

02:58:45 20    those levels.   From the brochure itself, I'll hand a copy of

02:58:48 21    that up in a bit, the brochure, they use boron which is the

02:58:52 22    key element here, and the other elements all fall within,

02:58:56 23    there is no dispute on that, that's been litigated.

02:58:58 24                 As you may know, in steel operations what it

02:59:02 25    involves is you melt the steel and you pour it out in what's
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02:59:06   1   called a hot rolling operation.      You cast it and then you

02:59:10   2   roll it down, so you're taking a big block of steel that's

02:59:13   3   on the left, you're making it much thinner and so you roll

02:59:17   4   it a number of times.     And then you end up with cold rolled

02:59:20   5   steel, you roll it on rollers when it's at room temperature.

02:59:24   6   This is how the steel is made by AK Steel, no question, no

02:59:28   7   dispute.   In the claim terms you find talk about hot rolling

02:59:31   8   and cold rolling, and there was a lot of dispute in this

02:59:34   9   first round about this.

02:59:35 10                 Another aspect of the claim is there an aluminum

02:59:39 11    alloy coating.   What the patent talks about is putting a

02:59:44 12    coating over the steel before you do all the hot stamping

02:59:46 13    and that's because that helps prevent decarburization and

02:59:51 14    helps prevent oxidation of the steel.       And you'll find that

02:59:55 15    AK uses that.    And they have a metallic coating and they

02:59:59 16    actually in their brochure it says it prevents against

03:00:04 17    decarburization and oxidation.

03:00:05 18                 So the next step is where the issue comes to

03:00:07 19    play is after AK makes that steel and makes it in a roll,

03:00:11 20    what they do is they have sold the steel.        It's not sold at

03:00:15 21    Home Depot or at a lumbar yard, it's sold specifically.          AK

03:00:20 22    will sell to a customer such as Ford and then they'll ship

03:00:25 23    to a particular hot stamper that Ford has picked out for

03:00:29 24    them.

03:00:29 25                 So I can hand up one of the invoices.        What
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03:00:32   1   you'll see is it says AK is selling for a bumper and it

03:00:37   2   ships for this hot stamper.      They're the ones, the hot

03:00:40   3   stampers, they take it and they do this hot stamping

03:00:44   4   operation that gets you to the coated sheath and this

03:00:49   5   martensitic structure.     In AK's own brochure they talk about

03:00:53   6   hot stamped parts.    This is what we do, we make hot stamped

03:00:56   7   parts.   This is how we form them.

03:00:58   8                And so the reason I point this out is because

03:01:01   9   it's interesting that Mr. Sipes who was the previous counsel

03:01:06 10    or co-counsel with Mr. Learner had repeatedly, repeatedly

03:01:10 11    told the court we don't make any steel, we don't make

03:01:14 12    anything that is above 1,500, nothing above 1,500.          In fact,

03:01:17 13    it turns out that the current specifications, for example,

03:01:21 14    for Ford, include steels above 1,500.

03:01:24 15                 And when Mr. Sipes was before the Federal

03:01:27 16    Circuit argument on ArcelorMittal IV, the Federal Circuit

03:01:30 17    asked him and said well, does the AK Steel meet 1,500?          And

03:01:35 18    he said well, we don't know.      And he said well, but you sell

03:01:39 19    for these specifications.     And he said yes, we sell for

03:01:42 20    those specifications, so it has to meet that.         So what

03:01:45 21    you're saying, counsel for AK admitted that their steel is

03:01:50 22    capable of making it above 1,500.

03:01:51 23                 So it's interesting when AK argues that all

03:01:55 24    these years this case would have gone away, would have gone

03:01:59 25    away, the reality is AK has been selling since late 2012
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03:02:04   1   commercial steels to hot stampers where the hot stampers

03:02:08   2   stamp and it exceeds 1,500 and then they send it to the

03:02:13   3   automakers.   That is the infringement that has been going

03:02:16   4   on.   So it's our position that we have a good faith basis to

03:02:19   5   pursue that either -- and that's what we continue to pursue.

03:02:23   6   And we think that that is where the Federal Circuit's

03:02:27   7   decision is very telling from our standpoint.

03:02:30   8                 But, Your Honor, let me just hit a couple of

03:02:33   9   other points if I could about the issue in terms of the

03:02:37 10    other points that were raised.      One was the fact that -- if

03:02:43 11    we could go to slide -- the next slide, please.         And the

03:02:51 12    next one.

03:02:54 13                  In the ArcelorMittal II, which is the case that

03:02:57 14    was after the reissue, the Federal Circuit vacated the sua

03:03:04 15    sponte finding of invalidity and said there is no allegation

03:03:07 16    or evidence that ArcelorMittal acted with deceptive intent

03:03:10 17    or submitted a deceptive reissue application.         And the

03:03:14 18    Federal Circuit declined AK's invitation to reach the merits

03:03:18 19    of invalidity/non-infringement.

03:03:21 20                  So to your point, Your Honor, when it went to

03:03:22 21    the Federal Circuit on appeal, AK said well, claims 24 and

03:03:26 22    25, you can still invalidate those or find non-infringement

03:03:30 23    based on the record, you can still do that.        And, in fact,

03:03:35 24    you know they have done all these bad things.         Even if

03:03:37 25    you're not going to invalidate them on the reissue point,
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03:03:41   1   you can invalidate them or find non-infringement.         And the

03:03:44   2   Federal Circuit said no, we decline your invitation to reach

03:03:48   3   the merits on those issues.      So they sent it back.

03:03:52   4                I think our basic point on the reissue is that

03:03:56   5   we're entitled to seek a reissue and we did it properly.              We

03:04:00   6   prepared issues as to why we felt it was an exception to the

03:04:03   7   mandate rule.   We were wrong.     We lost that issue.      But we

03:04:08   8   did it in good faith and there -- and we good did it based

03:04:11   9   on legal precedent that allows us to do that.         And we think

03:04:14 10    that when -- when AK talks about deterrents, there shouldn't

03:04:18 11    be things that deter people from preceding to get a reissue

03:04:22 12    patent and proceeding promptly before the patent office and

03:04:25 13    giving the patent office the information and then once

03:04:27 14    getting that presumptively valid patent bringing it before

03:04:31 15    the court and saying here is what we think.        If it turns out

03:04:35 16    we were wrong, we were wrong, but it was a good faith effort

03:04:38 17    and a good faith basis.

03:04:40 18                 If we go to the next slide, we get to

03:04:44 19    ArcelorMittal III, this is on the covenant and all the

03:04:45 20    things that went on.    Here the majority said that the

03:04:48 21    covenant is not effective taking into account all the

03:04:51 22    circumstances upon the particular and unusual facts of this

03:04:54 23    case.   So in this case -- and Judge Wallach in the dissent

03:04:57 24    said the covenant was effective to moot the dispute.

03:05:02 25                 Our point on the covenant here is as Judge
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03:05:05   1   Robinson said, had we just given it to the other side, the

03:05:07   2   whole case would have gone away right then.        That would have

03:05:10   3   solved the problem.    Instead it went up and the Federal

03:05:14   4   Circuit said well, we're not going to hold it effective

03:05:17   5   because of this and that.     We acted in good faith.       Like I

03:05:20   6   said, I came into the courtroom and said we're not going to

03:05:23   7   pursue these claims.    We'll get them a covenant.       We

03:05:26   8   certainly did.    It took some time.     But we don't believe

03:05:29   9   that's actionable or that gives you an exceptional case.

03:05:32 10                 If we go to the next slide, please.

03:05:35 11                 This is in ArcelorMittal IV, this is the one on

03:05:38 12    November 5th, which was absent from the AK timeline.          AK's

03:05:43 13    own brochure made after the verdict in 2010 lends support to

03:05:49 14    ArcelorMittal's contention that AK's conduct and has

03:05:52 15    changed.   It says it's significant in 2012 AK's products

03:05:55 16    achieved 1,500.    Our pitch was that that evidence should

03:06:00 17    have been made part of the 050 record, that we should be

03:06:04 18    considering commercial success, we should be considering

03:06:07 19    infringement on that.     Judge Robinson said no, and that was

03:06:10 20    within her discretion.     But our efforts to do that were in

03:06:15 21    good faith, and I don't think constitute exceptional

03:06:20 22    conduct.   And, in fact, we pursued it in the 685 case and

03:06:23 23    now the Federal Circuit says that we can go ahead with that,

03:06:27 24    and that's something you can do.

03:06:28 25                 So, Your Honor, I think I have answered all of
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03:06:32   1   the various points that I have raised.       If you have

03:06:36   2   questions, I'm certainly willing to answer those, but I

03:06:40   3   believe in summary just like you said, we believe we have

03:06:43   4   acted properly here and we have done our best and acted in

03:06:46   5   good faith and we lost, but that doesn't seem to me that

03:06:50   6   that merits the finding of an exceptional case.

03:06:53   7                 Thank you, Your Honor.

03:06:56   8                 THE COURT:    Mr. Learner, I'll let you say

03:07:00   9   whatever you want.    The one question I did have is we don't

03:07:07 10    need to get into all the background and arguments that may

03:07:10 11    be coming down the line on non-infringement or invalidity,

03:07:14 12    but is it AK's steel's position that there has or has not

03:07:18 13    been a change to its process?

03:07:20 14                  MR. LERNER:   It's AK Steel's position there has

03:07:24 15    been no change to its product.      I'm happy to address this,

03:07:27 16    Your Honor.

03:07:28 17                  The first point I was going to respond to is we

03:07:31 18    go to our slide 2 which is a timeline.       The reason we have

03:07:37 19    on this timeline the opinions that we have is because this

03:07:42 20    motion is in the 050 case.     This timeline is about the 050

03:07:47 21    case.   The 685 is a different case.      We can take that up

03:07:51 22    separately.   But the Federal Circuit's ruling in the 685

03:07:56 23    case does not change anything about the 050 case.         It does

03:08:00 24    not make any more reasonable the decisions and the actions

03:08:03 25    that ArcelorMittal has taken.      And we have Judge Robinson's
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03:08:09   1   contemporaneous reactions to those that we have already gone

03:08:11   2   over.

03:08:11   3                  THE COURT:    Part of your complaint in the

03:08:14   4   original brief was that the litigation had been extended

03:08:18   5   beyond what it should have been based in part on the filing

03:08:21   6   of the 685 case.

03:08:23   7                  MR. LERNER:   That's right.    And it has.

03:08:25   8                  THE COURT:    And the seeking of discovery that it

03:08:27   9   now ask for.

03:08:28 10                   MR. LERNER:   Correct.   If things had proceeded

03:08:30 11    in their appropriate course, in our view if things had

03:08:36 12    proceeded appropriately, there would be no reissue.          A

03:08:39 13    decade had past since the issuance of the '805 patent.           The

03:08:43 14    only reason they got this subsequent reissue, this

03:08:45 15    continuation, is because of the improper '153, so in a

03:08:48 16    certain sense they're benefiting now from their

03:08:51 17    inappropriate actions, but that's just a quirk of the patent

03:08:55 18    law.

03:08:55 19                   But the remand was in 2013.     The RE940 didn't

03:09:01 20    reissue until 2014.    If they wanted to file a new suit

03:09:06 21    later, that would have been a different matter.         But really

03:09:09 22    a lot of what was happening in this time period was

03:09:12 23    ArcelorMittal trying to avoid judgment on the merits,

03:09:16 24    because the RE940 patent is a child of the RE153 and it's

03:09:22 25    related to the original '805.
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03:09:25   1                The fact findings, the rulings in the original

03:09:28   2   case have preclusive effect that's going to be a very

03:09:32   3   serious issue in the 685 case.      The Federal Circuit hasn't

03:09:38   4   addressed the issue of collateral estoppel for obviousness

03:09:42   5   under Ohio Willow Woods and other cases.        That wasn't

03:09:46   6   briefed because in our view there has been no change to AK

03:09:50   7   Steel's product.

03:09:51   8                And the Federal Circuit's opinion in our view

03:09:54   9   takes the wrong analysis.     I can explain briefly why.        AK

03:09:59 10    Steel makes steel sheet.     It doesn't make stamped parts.

03:10:02 11    The brochure that you were shown doesn't say AK Steel makes

03:10:07 12    stamped parts.   It so happens that stamped parts are the

03:10:09 13    application that people can make, can make from this steel.

03:10:12 14    And that's always been the case.      If you go back to the

03:10:16 15    original trial record, it was all about how this steel is

03:10:19 16    used for hot stamping.

03:10:21 17                 This Ford specification that Mr. Abrams

03:10:25 18    mentioned about having a strength over 1,500.         It's an

03:10:28 19    interesting example because that same specification was put

03:10:32 20    forward as evidence by ArcelorMittal in the original case.

03:10:35 21    Which our point is all the arguments they're making, they

03:10:38 22    advanced and lost.    This is the second bite of the apple.

03:10:41 23                 But the Federal Circuit said in their view the

03:10:43 24    accused product is a stamped product.       Even though AK Steel

03:10:47 25    doesn't make that, we make the underlying sheets, someone
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03:10:51   1   else takes that and does what they want with it, they said

03:10:54   2   that accused product is that other thing and that at least

03:10:57   3   given the record before them, it was possible that there was

03:10:59   4   a change.   We don't believe there has been any change.         That

03:11:05   5   evidence that has been put forward is at best mysterious,

03:11:10   6   but that's an issue that we'll have to get taken up

03:11:14   7   separately.

03:11:14   8                  But what hasn't been addressed and really part

03:11:18   9   of the reason this is so exceptional is they wanted a blank

03:11:23 10    slate.   All of these efforts have been about undoing the

03:11:26 11    jury verdict, undoing the Federal Circuit's affirmance of no

03:11:31 12    infringement, undoing the Federal Circuit's affirmance of

03:11:35 13    primi facia obviousness, and limiting the remand to a

03:11:38 14    question of whether commercial success can overcome that.

03:11:41 15    If commercial success couldn't overcome the prima fascia

03:11:44 16    obviousness in 2011, it's hard to imagine how later sales

03:11:48 17    could change that analysis.      It doesn't become less obvious

03:11:51 18    if they sell more product over time.       If it was obvious, it

03:11:55 19    was obvious.    And we have conclusive results on that.

03:11:57 20    That's all for a different way.

03:12:00 21                   We were trying to focus on the 050 case because

03:12:03 22    that's what this case is.     The reason the 685 comes into

03:12:06 23    play is it is in our view an improper attempt to prolong

03:12:11 24    litigation.    And it really explains all of these efforts to

03:12:14 25    avoid findings on the merits which is really what's
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03:12:17   1   happening before the district court.

03:12:19   2                THE COURT:    But if AK did change its product,

03:12:21   3   then that would have some, could have some responsibility

03:12:25   4   for prolonging the litigation; right?

03:12:28   5                MR. LERNER:    Not that litigation.      I mean, if AK

03:12:31   6   Steel had changed its product, which if it had, it would

03:12:35   7   justify --

03:12:35   8                THE COURT:    Part of what you're saying is

03:12:37   9   prolonging litigation is the filing of the 685 case?

03:12:40 10                 MR. LERNER:    Correct.

03:12:41 11                 THE COURT:    So to the extent that AK, if it did,

03:12:44 12    I understand, if it did change its product, then that would

03:12:48 13    also have contributed to the litigation continuing.

03:12:53 14                 MR. LERNER:    That would.    Although it was on the

03:12:56 15    RE153 patent.   If the reissue strategy, which was clearly

03:13:04 16    inappropriate under 251(d) hadn't been taken, then the '805

03:13:09 17    patent's claims had all been held invalid.        So whatever AK

03:13:13 18    Steel had done commercially wouldn't matter because there

03:13:16 19    would be no valid claims that could be infringed.         All of

03:13:19 20    this has in various guises prolonged the litigation.

03:13:23 21                 The RE153 was also invalidated.       And it's really

03:13:27 22    this '940 patent that hasn't had its validity tested yet,

03:13:31 23    that didn't issue until 2014.      So at least for a period of

03:13:34 24    time, AK Steel would be free and clear without this specter

03:13:39 25    of infringement claims and without ArcelorMittal going to
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03:13:40   1   customers and saying hey, you're liable for infringement if

03:13:43   2   you buy product from someone else that's been a adjudged

03:13:47   3   non-infringing.

03:13:48   4                 THE COURT:    Is that activity still occurring?

03:13:52   5                 MR. LERNER:   We don't have letters the way we

03:13:55   6   did before.   I can't say for certain.      My understanding is

03:14:02   7   that the market has still been chilly for products that are

03:14:05   8   not by ArcelorMittal or licensees.       And I expect that may be

03:14:10   9   another issue that comes before this Court, because with

03:14:13 10    this later issued '940 patent, not only are there absolute

03:14:19 11    intervening rights, but there is going to be equitable

03:14:20 12    intervening rights.    This patent didn't issue until 2014.

03:14:23 13    They're telling you AK is making a different product from

03:14:26 14    2012.   And so all that investment even if they're right,

03:14:30 15    which they're not, had been made and then they get a new

03:14:34 16    patent that they say is infringed, that raises lots of

03:14:38 17    interesting questions that are for a different date.          These

03:14:39 18    questions before us today I think are clear-cut.

03:14:42 19                  The 685 is a red herring and this notion that

03:14:46 20    ArcelorMittal is willing to give AK Steel a free pass or if

03:14:50 21    I took it down correctly, that they would -- the goal was to

03:14:56 22    get rid of the case, not extend it, that just doesn't pass

03:15:02 23    the red face test.

03:15:04 24                  The goal is not to give a free pass, the goal

03:15:07 25    was to start over because they don't like the record that
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03:15:09   1   was developed.   They don't like the preclusive effect of the

03:15:13   2   original judgement.    That's really what the goal was.

03:15:15   3   That's vexatious litigation, that's an improper purpose.

03:15:17   4   They can litigate the 685, we can see where that takes us.

03:15:22   5   But for this case, we think that Judge Robinson was clearly

03:15:25   6   correct that when a case is remanded for two issues, you

03:15:28   7   don't reopen the record and have a free for all about what

03:15:32   8   has happened in the following number of years.         That can be

03:15:35   9   taken up in a new case.

03:15:37 10                 The record is clear there was no evidence of

03:15:40 11    infringement by AK Steel in the trial record despite what

03:15:44 12    they told the Federal Circuit which Your Honor addressed

03:15:46 13    with ArcelorMittal's counsel.

03:15:48 14                 THE COURT:    But I'm still trying to figure out

03:15:50 15    why the issues on remand weren't addressed on remand, and

03:15:56 16    wouldn't that have just shortcut everything?

03:16:02 17                 MR. LERNER:    It would have been more efficient

03:16:06 18    if things had proceeded differently.       I would say, I know

03:16:09 19    there is some confusion about this.       When the case was

03:16:11 20    remanded, when this reissue came out, the '805 didn't exist

03:16:16 21    anymore.   As a matter of operation of patent law, it was no

03:16:19 22    longer of effect.

03:16:20 23                 So some of the arguments that have been made

03:16:22 24    here by ArcelorMittal's counsel conflate with '805 with the

03:16:28 25    reissue.   The '805 was done.     That had been construed.      That
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03:16:31   1   was after the mandate was effectively set in stone.          They

03:16:35   2   then have a reissue patent.      They can say that the

03:16:38   3   prosecution of the reissue affects the interpretation of the

03:16:41   4   reissue, which is what Judge Robinson found, but that's an

03:16:45   5   entirely different issue from whether you can go back and

03:16:48   6   reinterpret the original patent.      There is absolutely no

03:16:50   7   support for that.    The case they cite lends no support to

03:16:53   8   that idea.

03:16:53   9                 But the RE153 was there, and our initial

03:16:57 10    proposal was get rid of the broadened claims, we don't

03:17:03 11    infringe.    And then we can take up validity.      The big issue

03:17:07 12    for AK Steel was we wanted to be able to market free and

03:17:10 13    clear this issue because we had this product we invested in,

03:17:14 14    we thought we had a judgment in our favor, the Federal

03:17:16 15    Circuit had that statement -- we can get back to that --

03:17:19 16    about evidence in the record that was vague or confused.

03:17:26 17                  THE COURT:    What you wanted was what you just

03:17:28 18    said was they get rid of the broadened claims and take up

03:17:32 19    validity later.    That's what you got; right?      You got rid of

03:17:37 20    the broadened claims in the first instance and then in the

03:17:40 21    second instance you dealt with the validity issue.          So isn't

03:17:44 22    that what you were asking for?

03:17:46 23                  MR. LERNER:   I don't think so.     I mean, in an

03:17:52 24    ultimate sense we got the judgment of non-infringement and

03:17:55 25    invalidity we wanted.
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03:17:56   1                 THE COURT:    What you asked for originally, I

03:17:59   2   don't even know what you call these things anymore, but

03:18:00   3   after the remand, the original remand when Judge Robinson

03:18:05   4   looked at your motion for summary judgment of

03:18:09   5   non-infringement and invalidated all the claims, what you

03:18:12   6   had asked for would have left you with a situation where you

03:18:15   7   did not infringe claims 1 to 23, and you would have had to

03:18:21   8   have further proceedings whether briefing or whatever on

03:18:25   9   claims 24 to 25.    That's what you got.

03:18:28 10                  And how do you -- I understand that you're upset

03:18:31 11    with some of the machinations that went on over here, but

03:18:35 12    you got essentially what you were asking for.         And so that's

03:18:38 13    where I'm having a little bit of a hard time tagging in with

03:18:43 14    all the costs.

03:18:44 15                  MR. LERNER:   Sure.   A couple of things about

03:18:47 16    that.   We got it, but four years later.       And that was a long

03:18:50 17    time for our client given what we see in the marketplace.

03:18:53 18    ArcelorMittal was not out there saying we're happy to have

03:18:56 19    you buy from AK Steel, they're a delightful company, they

03:19:01 20    were quite to the contrary, making threats, don't buy from

03:19:05 21    them.   So that was a very serious commercial issue.         That's

03:19:08 22    why we were seeking an immediate judgment of

03:19:10 23    non-infringement.

03:19:11 24                  And the invalidity would have been addressed

03:19:14 25    early, too.   We don't know where that would have taken us if
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03:19:18   1   the patent office had known of these invalidity findings

03:19:22   2   would it have issued the RE940 patent and saved us this

03:19:25   3   additional work?    Maybe.    We wouldn't have had to brief

03:19:28   4   subject matter jurisdiction.      We wouldn't have had to brief

03:19:31   5   covenants not to sue.     And these games they were playing to

03:19:34   6   divest the court's jurisdiction, we wouldn't have known

03:19:36   7   without all these additional appeals that there is

03:19:40   8   preclusive effect that applies going forward.

03:19:42   9                So it's really the time and it has been having

03:19:45 10    to make these arguments again and again.        I think we have

03:19:50 11    now briefed summary judgment of non-infringement two or

03:19:53 12    three different times.     That would have been one.      And it

03:19:55 13    would have been very different from a commercial standpoint

03:19:58 14    if we could have put that aside and then moved on.

03:20:08 15                 THE COURT:      You're just about out of time.

03:20:10 16    Maybe wrap it up.

03:20:11 17                 MR. LERNER:     Of course.

03:20:14 18                 The claims ended up being found not infringed,

03:20:17 19    not invalid, and ArcelorMittal even today has not identified

03:20:20 20    any evidence --

03:20:21 21                 THE COURT:      Not infringed and invalid.

03:20:23 22                 MR. LERNER:     Not infringed and invalid.      Thank

03:20:25 23    you, Your Honor.    That's an important correction.

03:20:28 24                 ArcelorMittal has still never identified

03:20:30 25    evidence in the record or any basis to believe the trial
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03:20:35   1   record for a basis to proceed except for their broadening

03:20:39   2   which has been roundly rejected as a violation of 251(d).

03:20:43   3                  The 685 case can be taken up on its own.       We

03:20:46   4   don't agree with the description of technology that was

03:20:48   5   provided, but we can take that up separately.

03:20:51   6                  But for this case, the best that one can say is

03:20:54   7   these are machinations.      Judge Robinson's reactions are

03:20:57   8   quite clear.    The Federal Circuit acknowledges that there

03:21:00   9   are sound policy reasons not to allow this.        And if nothing

03:21:04 10    else can be said, this case is not a normal common typical

03:21:08 11    case.   If any case stands out from the others, it will be

03:21:12 12    this case that should have ended in 2013.

03:21:15 13                   Thank you, Your Honor.

03:21:16 14                   THE COURT:    Thank you.

03:21:18 15                   MR. ABRAMS:   Your Honor, if I could hand up two

03:21:23 16    exhibits that I mentioned.      One is the purchase order that I

03:21:27 17    mentioned that shows how AK sells its product directly for

03:21:34 18    particular parts.    And this is marked confidential so if

03:21:39 19    Your Honor could treat it accordingly.

03:21:41 20                   And then second -- may I approach?

03:21:57 21                   And then the other is the AK brochure, the

03:22:01 22    Ultralume brochure which is where some of the photos and

03:22:04 23    things came from.

03:22:14 24                   Thank you, Your Honor.

03:22:15 25                   MR. LERNER:   Your Honor, I apologize.     One more
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03:22:17   1   thing.   You had asked about the citation.       I haven't found

03:22:23   2   it.   It's possible I was remembering something slightly

03:22:26   3   incorrectly.    There is a DI-338 is an opinion about Judge

03:22:34   4   Robinson.

03:22:34   5                  THE COURT:    That's the one where she mentions

03:22:37   6   it.   I just didn't remember that she had explained it away.

03:22:40   7   I thought she more focused on the fact that plaintiff hadn't

03:22:44   8   put forward any evidence.

03:22:45   9                  MR. LERNER:   If it's okay with you, we can

03:22:48 10    submit a very short one-paragraph letter.

03:22:50 11                   The other thing is in DI-312, which is one of

03:22:55 12    the hearings, Mr. Sipes explains this on behalf of AK Steel.

03:23:00 13    It begins at page 17, line 21, with a question from the

03:23:04 14    court and then Mr. Sipes' explanation goes through page 18.

03:23:11 15                   THE COURT:    Okay.   Hold on one second.    I just

03:23:14 16    want to make sure, some of the transcripts because it's old

03:23:17 17    weren't available to me, and so I just want to see if I --

03:23:21 18    actually I am not sure if I have that or not.         But if I

03:23:24 19    don't, I'll contact counsel and ask you to submit that for

03:23:27 20    me.

03:23:28 21                   MR. LERNER:   Or if it would be easier when we

03:23:30 22    submit a paragraph, we could submit the attachments that are

03:23:33 23    cited with it.

03:23:33 24                   THE COURT:    That's fine.   Run it by, any

03:23:36 25    attachments -- if there is something wrong with the
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03:23:39    1   attachments you can have a paragraph.

03:23:40    2                MR. LERNER:   Thank you, Your Honor.

03:23:41    3                THE COURT:    Thank you.

03:23:42    4                Was there anything else that we need to discuss?

03:23:45    5                MR. ABRAMS:   No.

03:23:49    6                THE COURT:    Thank you very much for your

03:23:50    7   arguments.   It's very helpful.    And we will get a decision

03:23:53    8   out.

03:23:53    9                (Court recessed at 3:26 p.m.)

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